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 1 STEVEN D. ZANSBERG (SBN 177528)

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 5
   Attorney for Proposed Intervenor Dow Jones and Co.
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 7
                                  UNITED STATES DISTRICT COURT
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 9                              NORTHERN DISTRICT OF CALIFORNIA

10                                      SAN JOSE DIVISION

11

12    UNITED STATES OF AMERICA                  Case No. 18-cr-00258-EDJ EJD
                  Plaintiff,
13                                              DECLARATION OF STEVEN D.
                     v.                         ZANSBERG IN SUPPORT OF MOTION OF
14                                              DOW JONES & COMPANY, INC. TO
15                                              INTERVENE FOR LIMITED PURPOSE OF
       ELIZABETH HOLMES and                     SEEKING THE UNSEALING OF
16     RAMESH “SUNNY” BALWANI,                  JUDICIAL RECORDS IN THE COURT’S
                          Defendants.           FILE, INCLUDING THE DOCKET;
17                                              MOTION TO UNSEAL JUDICIAL
                                                RECORDS
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19                                              Date: August 9, 2021
                                                Time: 10:00 a.m. (Status Hearing Only)
20                                              Courtoom: 4, 5th Floor
                                                Hon. Edward J. Davila
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28 DECLARATION OF STEVEN D. ZANSBERG IN SUPPORT                       CASE NO. CR-18-00258-EJD
     OF DOW JONES AND COMPANY’S MOTION TO INTERVENE
     FOR LIMITED PURPOSE OF SEEKING TO UNSEAL
     JUDICIAL DOCUMENTS
                                               -1-
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 1 I, STEVEN D. ZANSBERG, declare as follows:

 2           1.    I represent Dow Jones & Company, Inc. (“Dow Jones”) as the proposed Intervenor

 3 in the above-captioned matter. I submit this Declaration in support of Dow Jones’ Motion to

 4 Intervene for the Limited Purpose of Seeking to Unseal Judicial Records in this Case, Including the

 5 Docket and Motion to Unseal. I attest to the following facts upon which Dow Jones’ motion relies.

 6           2.    Attached to this Declaration are seven (7) exhibits. The contents of the exhibits are

 7 as follows:

 8                  a. Exhibit 1 is a true and correct copy of the Docket in this case as it appears on

 9 PACER on July 26, 2021.
10                  b. Exhibit 2 is a true and correct copy of Defendant John J. Cota’s Notice of
11 Motion and Motion To Sever Charges Against Defendant Fleet Management, Inc.in U.S. v. Cota,

12 No. 18-cr-0160-SI (N.D. Cal.).

13                  c. Exhibit 3 is a true and correct copy of the Memorandum of Points and
14 Authorities in Support of Defendant John J. Cota’s Motion To Sever Charges Against Defendant

15 Fleet Management, Inc.in U.S. v. Cota, No. 18-cr-0160-SI (N.D. Cal.).

16                  d. Exhibit 4 is a true and correct copy of the Government’s Memorandum in
17 Opposition to Defendant John J. Cota’s Motion To Sever Charges Against Defendant Fleet

18 Management, Inc.in U.S. v. Cota, No. 18-cr-0160-SI (N.D. Cal.).

19                  e. Exhibit 5 is a true and correct copy of the Defendant John J. Cota’s Reply
20 To Opposition To Motion To Sever Charges Against Fleet Management, Ltd. in U.S. v. Cota, No.

21 18-cr-0160-SI (N.D. Cal.).

22                  f. Exhibit 6 is a true and correct copy of the Order Re: Defendant John J. Cota’s
23 Motions To Change Venue; And To Sever Charges Against Defendant Fleet Management Or,

24 Alternatively, For Special Jury Selection Procedures in U.S. v. Cota, No. 18-cr-0160-SI (N.D.

25 Cal.).

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28 DECLARATION OF STEVEN D. ZANSBERG IN SUPPORT                              CASE NO. CR-18-00258-EJD
     OF DOW JONES AND COMPANY’S MOTION TO INTERVENE
     FOR LIMITED PURPOSE OF SEEKING TO UNSEAL
     JUDICIAL DOCUMENTS
                                                   -2-
         Case 5:18-cr-00258-EJD Document 882 Filed 07/30/21 Page 3 of 4




 1                 g. Exhibit 7 is a true and correct copy of the Order (unsealing court records on

 2 Defendant’s motion to sever) in U.S. v. Hurbace, No. 17-cr-00110-APG-CWH (D. Nev.).

 3

 4         I declare under penalty of perjury under the laws of the United States that the foregoing is

 5 true and correct to the best of my knowledge.

 6

 7 Executed this 27th day of July, 2021 in Denver, CO.

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 9                                               /s/ Steven D. Zansberg_____
10                                               STEVEN D. ZANSBERG
                                                 Attorney for Dow Jones and Company, Inc.
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28 DECLARATION OF STEVEN D. ZANSBERG IN SUPPORT                             CASE NO. CR-18-00258-EJD
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     JUDICIAL DOCUMENTS
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 2                                    CERTIFICATE OF SERVICE

 3  I hereby certify that on July 2, 2021, a copy of this filing was delivered via HPDLO to all counsel
   of record. ,IDQ\FRXQVHOLQGLFDWHVWKDWWKH\ZLVKWRUHFHLYHDKDUGFRS\RIWKLVILOLQJ,IXUWKHU
 4 FHUWLI\WKDW,ZLOOGHSRVLWDFRS\LQWKH863RVWDO6HUYLFHIRUQH[WGD\GHOLYHU\

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 6                                                 /s/ Steven D. Zansberg_____
                                                  STEVEN D. ZANSBERG
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28 DECLARATION OF STEVEN D. ZANSBERG IN SUPPORT                               CASE NO. CR-18-00258-EJD
     OF DOW JONES AND COMPANY’S MOTION TO INTERVENE
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